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                         CORPORATE RESOLUTION OF
                            THE REPUBLIC ATLANTA INC

         The undersigned, being a member of THE REPUBLIC ATLANTA INC, a Georgia
Corporation (the “Corporation”) having met at a meeting specially called by the
Corporation do, by his participation and signature below, hereby waive any other notice
of meeting as provided in the By-Laws Agreement of the Corporation, and do hereby
consent and resolve to the adoption of, and do hereby adopt, the following actions to be
taken:
         1.   The Corporation shall prepare and file a voluntary petition for bankruptcy
              under Chapter 7 of the Bankruptcy Code;
         2.   The Corporation shall retain and pay Medley & Associates, LLC the
              amount of 4500.00, for legal work, the filing, and prosecution of the
              bankruptcy case; The filing fee of $338.00 shall be paid at the time of
              filing.
         3.   Michael Gidewon of the Corporation, is authorized and instructed to review
              and execute those documents reasonably calculated to effect the filing and
              prosecution of a chapter 7 bankruptcy case, and to direct the officers,
              employees and agents of the Corporation to cooperate with the reporting
              requirements of the bankruptcy court, the bankruptcy code, and the office
              of the United States Trustee.


         IT IS SO RESOLVED, this 15 July 2022.


                                                 //s// Michael Gidewon
                                                 Michael Gidewon
                                                 President
